FARMERS CO-OPERATIVE CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Farmers Coop. Co. v. CommissionerDocket No. 16342.United States Board of Tax Appeals13 B.T.A. 1080; 1928 BTA LEXIS 3107; October 17, 1928, Promulgated *3107 Held, that at the date of the deficiency notice the statute of limitations had run against the assessment and collection of any additional taxes.  Fred T. Ley &amp; Co.,9 B.T.A. 749"&gt;9 B.T.A. 749. Charles H. Preston, C.P.A., for the petitioner.  A. H. Fast, Esq., for the respondent.  LANSDON *1080  The respondent asserts a deficiency in income and profits tax for the fiscal year ended April 30, 1921, in the amount of $1,436.24.  The only issue is whether he statute of limitations had run against the deficiency at the date of the deficiency notice.  FINDINGS OF FACT.  The petitioner is a South Dakota corporation, with its principal office at Brookings.  During the taxable period involved in this appeal the taxpayer kept its books on the basis of a fiscal year ending April 30.  On June 9, 1921, the taxpayer filed with the proper collector of internal revenue its return of income for the fiscal period ending April 30, 1921.  After the enactment of the Revenue Act of 1921 no other or further return for the fiscal year ending April 30, 1921, was filed by this taxpayer.  No waiver of the statutory limitation period on assessment or collection*3108  of the 1921 income or excess-profits taxes was ever executed or filed with the Commissioner of Internal Revenue by this taxpayer.  On March 6, 1926, the Commissioner of Internal Revenue mailed to this taxpayer the so-called 60-day or deficiency letter provided for in section 274 of the Revenue Act of 1926, showing a deficiency due from this taxpayer for the fiscal year ending April 30, 1921, in the amount of $1,436.24.  Neither the $1,436.24 nor any part thereof has been assessed against this taxpayer prior to or since the mailing of said deficiency letter on said March 26, 1926.  *1081  In its income-tax return for the fiscal year ended April 30, 1921, the petitioner deducted the amount of $19,217.80 as patronage dividends prorated and paid to its members.  Upon audit of such return the Commissioner disallowed such patronage dividends as deductions from taxable income, made some minor adjustments which imposed no additional tax under the Revenue Act of 1921, and asserted the deficiency here in question.  OPINION.  LANSDON: The evidence in this proceeding establishes a state of facts on all fours with the records of the proceedings of *3109 ; ; and . On the authority of our decisions in the proceedings cited, we hold that in this proceeding the statute of limitations had run against the proposed deficiency at March 26, 1926.  Decision will be entered for the petitioner.